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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 2:17-CV-14077-DMM


  PATRICIA FONNEGRA,

                   Plaintiff,
  vs.

  SUNTRUST BANK,

              Defendant.
  ________________________________________/

                           JOINT NOTICE OF PENDING SETTLEMENT

            Plaintiff, PATRICIA FONNEGRA, and Defendant SUNTRUST BANK, by and through

  undersigned counsel, hereby submits this Joint Notice of Pending Settlement and states that the

  parties have reached a verbal settlement with regard to this case and are presently drafting,

  finalizing, and executing the settlement and dismissal documents. Upon execution of the same,

  the parties will file the appropriate dismissal documents with the Court.

            Respectfully submitted this 27th day of July 2017.




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                           CONSENT OF COUNSEL FOR DEFENDANT

            Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District

  Court for the Southern District of Florida, the undersigned counsel for Plaintiff represents to the

  Court that counsel for Defendant has authorized him to affix their electronic signature to this

  Joint Notice of Pending Settlement.



  /s/ Anthony C. Norman                             /s/Alexandra de Alejo____________
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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed on July 27, 2017 with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the
  Service List either via transmission of Notices of Electronic Filing generated by CM/ECF or in
  some other authorized manner for those counsel or parties who are not authorized to receive
  electronically.




                                         By: /s/ Anthony C. Norman
                                            Anthony C. Norman, Esq.
                                            Florida Bar No. 112105
                                            LOAN LAWYERS, LLC




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